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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


  GEGARD MOUSASI,

                  Plaintiff,                      Case No.: 2:24-cv-09844-EP-JBC

         v.

  BELLATOR SPORT WORLDWIDE, LLC,                          NOTICE OF APPEARANCE
  NEW BELLATOR, LLC (a Subsidiary of
  Professional Fighters League), PETER
  MURRAY, DONN DAVIS, RAY SEFO,
  MIKE KOGAN, JIM BRAMSON, GEORGE
  PINEDA and DOES 1 through 100,

                  Defendants.


        PLEASE TAKE NOTICE that Sarah Fehm Stewart, an attorney admitted and

 authorized to practice in this Court, appears as counsel for Defendants Bellator Sport Worldwide,

 LLC, New Bellator, LLC, Peter Murray, Donn Davis, Ray Sefo, Mike Kogan, Jim Bramson and

 George Pineda.

 Dated: Florham Park, New Jersey
        December 26, 2024

                                                      DUANE MORRIS LLP

                                                By:      /s/ Sarah Fehm Stewart
                                                      Sarah Fehm Stewart, Esq.
                                                      200 Campus Drive, Suite 300
                                                      Florham Park, NJ 07932
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                                                      (973) 424-2061
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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 26, 2024, I served the foregoing Notice of Appearance

 by ECF on all counsel of record.


                                                   /s/ Sarah Fehm Stewart        .
                                                   Sarah Fehm Stewart
